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                          UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA
                                 CENTRAL DIVISION

CHRISTOPHER ROE,                              *        CIVIL NO. 4:20-cv-00107-RGE-SBJ
                                              *
               Plaintiff,                     *
       v.                                     *
                                              *
GRINNELL COLLEGE,                             *                       ORDER
                                              *
            Defendant.                        *
___________________________________           *     ___________________________________


       Plaintiff initiated this action by filing a Complaint (Dkt. 1) on March 23, 2020, utilizing

the pseudonym Christopher Roe. Plaintiff also utilizes pseudonyms for certain other individuals

referred to within the Complaint. On the same date, plaintiff filed a Motion to Proceed Under

Pseudonym (Dkt. 2). At this early stage of the proceedings, defendant has not filed a responsive

pleading to the Complaint nor has counsel appeared on behalf of defendant.

       It would be premature to rule on plaintiff’s Motion prior to an opportunity for defendant to

respond. However, until a ruling is entered, both plaintiff and defendant shall utilize the same

pseudonyms set forth in the Complaint in any further pleading or other filing submitted in this

case. Defendant shall have 14 days after the earlier of either filing a responsive pleading to the

Complaint or counsel enters an appearance on defendant’s behalf to respond to the Motion.

       Plaintiff shall serve defendant with a copy of this Order and the Motion to Proceed Under

Pseudonym (Dkt. 2).

               IT IS SO ORDERED.

               Dated April 7, 2020.
